
888 So.2d 863 (2004)
Wesley ROBERTS, Jr. and Annie Matt Roberts
v.
OWENS-CORNING FIBERGLAS CORP., Pittsburgh Corning Corp., Owens-Illinois, Inc., Owens-Illinois Glass Co., Garlock, Inc., Crown Cork &amp; Seal Co., Inc., Rock Wool Manufacturing Co., M.H. Detrick Co., Riley Stoker Corp., Metropolitan Life Ins. Co., Foster Wheeler Energy Corp., W.R. Grace &amp; Co-Conn., the Anchor Packing Co., North American Refractories Co., General Refractories Co., Kaiser Aluminum &amp; Chemical Corp., Proko Industries, Inc., Synkoloid, Georgia-Pacific Corp., Minnesota Mining and Manufacturing Co., U.S. Miner Products Co., the Flintkote Co., Asten Group, Inc., Indresco, Inc., Uniroyal Holding, Inc., Kelly-Moore Paint Co., and the McCarty Corporation.
No. 2004-C-1834.
Supreme Court of Louisiana.
December 17, 2004.
Denied.
